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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION


ERIC STEPHON McCLENDON,

      Movant,

V.                                           Case No. CV613-113
                                                       CR6 12-00 1
UNITED STATES OF AMERICA,

      Respondent.

                  REPORT AND RECOMMENDATION

      Eric Stephon McClendon pled guilty to, and thus was convicted of,

drug conspiracy charges. CR612-001, doe. 443 at 1.1 He was sentenced

to 235 months "as a career offender pursuant to USSG §4B 1.1." Id. at

2. As part of a plea deal under which the government agreed to drop

some charges, doe. 441 at 4, McClendon "waive[d] his right to appeal any

sentence within the Federal Sentencing Guidelines range. . . ." Id. at 2;

see also id. at 8 (he agreed that, after the entry of the [his] guilty plea,

the defendant has no absolute right to withdraw the plea. Thus, the


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Court is free to impose any sentence authorized by law up to the

statutory maximum sentence of 40 years imprisonment, a $5,000,000

fine, and four years of supervised release.").

      In a separate plea agreement provision he expressly agreed that:

    [t]o the maximum extent permitted by federal law, the defendant
    voluntarily and expressly waives the right to appeal the conviction
    and sentence and the right to collaterally attack the sentence in
    any post-conviction proceeding, including a §2255 proceeding, on
    any ground, except that: the defendant may file a direct appeal of
    his sentence if it exceeds the statutory maximum; and the
    defendant may file a direct appeal of his sentence if, by variance or
    upward departure, the sentence is higher than the advisory
    sentencing guideline range as found by the sentencing court. The
    defendant understands that this Plea Agreement does not limit the
    Governments right to appeal, but if the Government appeals the
    sentence imposed, the defendant may also file a direct appeal of the
    sentence.

Doc. 441 at 9-10 (emphasis added). When all of this was explained to him

during a plea-acceptance hearing, McClendon swore that he understood

these terms. Doc. 447 at 8, 34-52. The Court thus accepted his plea (doc.

447 at 61) and sentenced him within the statutory maximum. Doe. 443.

Consistent with his double-waiver, McClendon took no appeal, yet now

moves for 28 U.S.C. § 2255 motion relief. Doe. 484.2 He insists, inter


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alia, that his "pre-trial advice was constitutionally deficient."   Id. at 7.

Upon preliminary review under the Rule 4(b) of the Rules Governing

Proceedings under 28 U.S.C. § 2255, his motion should be denied.

I. ANALYSIS

     Waivers similar to McClendon's have been upheld on appeal. See,

e.g., United States v. Orozco-Picazo, 391 F. App'x 761, 769 (11th Cir.

2010) (defendant's appeal waiver in pleading guilty to conspiracy to

distribute cocaine and possession of firearm in furtherance of drug

trafficking crime precluded appellate review of his claim that district

court erred in imposing consecutive sentences; district court questioned

defendant concerning appeal waiver during plea colloquy, and it did not

impose a sentence that was higher than that called for by advisory

guidelines); Angarita v. United States, 2010 WL 2872737 at * 2 (S.D. Fla.

Jul. 20, 2010) (upholding substantively similar waiver). To that end,

   [a]n appeal waiver or collateral-attack waiver is valid if a defendant
   enters into it knowingly and voluntarily. See Williams v. United
   States, 396 F.3d 1340, 1341 (11th Cir. 2005); United States v.
   Bushert, 997 F.2d 1343 2 1350-55 (11th Cir. 1993). In this circuit,
   such waivers have been enforced consistently according to their
   terms. See United States v. Bascomb, 451 F.3d 1292 1 1294 (11th
   Cir. 2006) (collecting cases). To enforce such a waiver, the
   government must demonstrate either that (1) the district court
   specifically questioned the defendant about the waiver during the


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  change of plea colloquy, or (2) the record clearly shows that the
  defendant otherwise understood the full significance of the waiver.

Warren v. United States, 2011 WL 5593183 at * 5 (M.D. Ala. Oct. 26,

2011).

     McClendon's § 2255 motion doesn't even acknowledge this double-

waiver. And his sentence did not exceed the statutory maximum. Nor is

it "higher than the advisory sentencing guideline range as found by the

sentencing court." Doe. 441 at 10. Construed liberally, McClendon may

be said to be invoking the "involuntariness" ground for invalidating his

guilty plea, and thus evade the waiver: "Petitioner's execution of the

underlying plea agreement and guilty plea was involuntarily,

unknowingly, and unintelligently entered on the basis of affirmative

misadvice of counsel." Doe. 484 at 2. He alleges that his attorney failed

to investigate his prior convictions, which he insists are invalid (thus

nixing his career offender status), and, that if counsel had brought this

information to light he would not have pled guilty. Id. at 3-4.

     There is some non-binding Eleventh Circuit precedent that can be

read to enable an involuntariness-based challenge to the double-waiver

by way of an ineffective assistance claim:




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  Petitioner's appeal waiver generally precludes him from advancing
  an ineffective assistance of counsel claim in this Section 2255
  motion. Williams v. United States, 396 F.3d 13402 1342 (11th Cir.
  2005). However, to the extent that both grounds can be said to bear
  upon the validity of Petitioner's plea, the sentence appeal waiver in
  Petitioner's plea agreement does not bar federal review and the
  court considers the merits of both grounds. See Patel v. United
  States, 252 Fed. App'x 970, 974-75 (11th Cir. 2007) (holding
  ineffective assistance of counsel claim related to the validity of
  defendant's guilty plea is not barred by a waiver of collateral relief).

Johnson v. United States, 2013 WL 6799204 at * 4 (M.D. Fla. Dec. 23,

2013); see also Hurlow v. United States, 726 F.3d 958, 965 (7th Cir. 2013)

(a direct or collateral review waiver does not bar a challenge regarding

the validity of a plea agreement (and necessarily the waiver it contains)

on grounds of ineffective assistance of counsel; a defendant need not

have alleged that his counsel was ineffective in the negotiation of the

waiver provision of his plea agreement specifically; id. ("an attorney's

ineffectiveness with regard to the plea agreement as a whole, and not

just the specific waiver provision at issue, renders the waiver

unenforceable."). 3




  Upon determination that the defendant understood what he was waiving, district
courts have upheld collateral appeal waivers. See, e.g., Unites States v. Crum, 2012
WL 5966635 at *3 (S.D. Ala. Nov. 28, 2012); Hamilton v. United States, 2012 WL
5931677 at *2_3 (S.D. Ga. Nov. 26, 2012).
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      Thus, these courts reason, an appellate waiver will bar the

movant's ineffective assistance claim "to the extent it addresses matters

other than the assistance he received in connection with the plea

agreement, [but] the claim is not barred to the extent it does address

that issue." Smith v. United States, 2013 WL 6632637 at * 1 (N.D. Ill.

Dec. 16, 2013).1 Hence, if the record reveals that the movant did not

receive ineffective assistance of counsel in the very process of entering

into his guilty plea, then there is no need for a hearing and the Court can

rule on that claim on the merits. Patel, 252 F. App'x at 975; Johnson,

2013 WL 6799204 at * 4-8.

      Even under that line of cases, then, McClendon's JAC claim falls

short because, to the extent he even pleads an IAC claim, such ineffective

assistance does not directly affect the validity of his waiver, much less his

plea. See Williams, 396 F.3d at 1342 n. 2. In Williams the court ruled

that Williams' ineffective IAC claims concerning his counsel's

representation at sentencing were not exempted from the collateral


  "In order to make out a claim for ineffective assistance of counsel in the context of
a guilty plea, a defendant must show (1) that counsel's performance fell below an
objective standard of reasonableness; and (2) that there is a reasonable probability
that, but for counsel's errors, the defendant would not have pled guilty and would
have insisted on going to trial.' Bethel v. United States, 458 F.3d 711, 716 (7th Cir.
2006)." Smith, 2013 WL 6632637 at * 1.

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attack waiver in his plea agreement, since they "[did] not concern

representation relating to the validity of the plea or waiver. . . ." Id. For

example, McClendon does not allege that his lawyer misled him as to any

of the plea's terms, or misadvised him during the plea process itself. See,

e.g., Patel, 252 F. App'x at 975 (held, the movant's allegation that his plea

was involuntary because his attorney and family members coerced him

into pleading guilty could be entertained in a section 2255 motion despite

a collateral attack waiver in his plea agreement); Ortiz v. United States,

2013 WL 5503005 at * 4 (S.D. Ga. Oct. 2, 2013) ("Like the movant in

Patel, Ortiz's assertion of ineffective assistance is 'a last-minute attempt

to escape the preclusive effect of [his] appeal waiver.").

      Instead, McClendon cites only non-plea related ineffectiveness to

support his involuntariness claim. That is, he claims that his lawyer told

him to plead guilty because he lacked any real defense. He now claims

that in fact he had a sentencing defense, so this renders his plea

"involuntary." Doc. 484 at 3-9 (reasoning that he in fact did not qualify

for career offender status, that had counsel performed effectively, this

would have been revealed to him and he would not have pled guilty); id.

at 10-15 (counsel should have unearthed prior invalid conviction and


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advised movant about that). That form of ineffective assistance is not

direct enough to render the plea involuntary. Counsel did not, for

example, deceive or threaten him. See Williams, 396 F.3d at 1342. And


     Erroneously assuming that prior state convictions are valid is analytically
indistinguishable from "an erroneous sentence estimate by counsel[, which] does not
render a plea involuntary. United States v. Himick, 139 F. App'x 227, 228-29 (11th
Cir. 2005) (emphasis added); United States v. Orr, 165 F. App'x 623, 624-25 (10th Cir.
2006); United States v. Tealer, No. 01-51262, 2002 WL 31415154 at *1 (5th Cir. Oct.
9 ) 2002); United States ex rel. LaFay v. Fritz, 455 F.2d 297, 302 (2d Cir.1972)."
Solorio-Reyez v. United States, 2011 WL 3684843 at * 3 (N.D. Ga. Jul. 14, 2011); see
United States v. Munguia—Ramirez , 267 F. Appx 894, 898 (11th Cir. 2008) (no error
in finding that the movant knowingly and voluntarily entered into guilty plea due to
counsel's incorrect estimation of his ultimate sentence, where record indicated that
he understood that he could not withdraw his plea even if he received a more severe
sentence than he thought); United States v. Kerns, 53 F. App'x 863, 866 (10th Cir.
2002) (finding claim that because attorney assured the movant that his sentence
would be less than what he ultimately received cannot constitute a challenge to the
voluntariness of his plea, as he stated during the plea colloquy that no one had made
any promises inducing him to enter a guilty plea).

  Here the district judge confirmed with McClendon, while taking his plea, that
counsel at most will have estimated what his sentence would be, and that "I hope it
won't be this way, but sometimes a sentence is more severe than the lawyer
predicted, and you would still be bound by your plea agreement." Doc. 477 at 43.
The judge also explained that McClendon's criminal history and other factors would
be figured into his sentence:

   So your lawyer is trying to look at all of those. And when they give you any
   estimate, it's based upon what he thinks that the Court is going to approve as a
   Presentence Report when all of the investigation is redone. The government
   may object to it. You may object to it. And if you can't reconcile those issues
   with the probation officers, then the Court will have to make a decision on
   those.

Id. at 42. McClendon indicated that he understood that. Id.; see also Cole v. United
States, 2011 WL 4899988 at * 4 (N.D. Ind. Oct. 14, 2011) (rejecting double-waiver §
2255 movant's "contention that he was wrongly sentenced as a career offender, or
that he would not have pleaded guilty if he had known that he was going to be
designated a career offender. . . . [He] was specifically informed at his plea hearing

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alleged attorney errors on sentencing matters (the career offender

contention) will not suffice. Patel, 252 F. App'x at 974 ("We have held

that a valid appeal waiver precludes § 2255 claims based on ineffective

assistance of counsel at sentencing.") (quoted in Solorio-Reyez v. United

States, 2011 WL 3684843 at * 6 (N.D. Ga. July 14, 2011)).

     By agreeing to waive his right to pursue such defenses, McClendon

entered into a bargain that the government has not breached. He cannot

now express "buyer's remorse" by taking the deal, then later

investigating what he gave up and complaining that he held a better

hand in the then unseen cards. That risk (of losing something helpful to

his defense) was part of his bargain. That merchandise cannot be

returned. United States v. Whitney, 468 F. App'x 637, 638 (7th Cir. 2012)

(upholding "on any ground" appellate waiver); United States v. Johnson,

480 F. App'x 229, 231 (4th Cir. 2012) (upholding waiver of right to

appeal "the conviction and any sentence within the statutory maximum"

on "any ground whatsoever."); McCullough v. United States, 2012 WL

3113990 at *3 (S.D. Ga. July 31, 2012) ("Allowing a movant to attack his

sentence after executing a knowing and voluntary appeal and collateral-

that his ultimate sentence could not be calculated until the Court received his
presentence investigation report from the U.S. Probation Department.").
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appeal waiver would permit a defendant to circumvent the terms of the

    waiver simply by recasting a challenge to his sentence as a claim of

ineffective assistance, thus rendering the waiver meaningless.") (quotes

and cite omitted); Jacobs v. United States, 2011 WL 5926191 at * 8 (S.D.

Ga. Oct. 28, 2011); Gweh v. United States, 2013 WL 140635 at * 3 (S.D.

Ga. Jan. 9, 2013); cf., Crawford v. United States, 501 F. App'x 943, 945

(11th Cir. 2012) ("Crawford's postconviction challenge to his sentence is

barred by the appeal waiver in his plea agreement. Crawford

acknowledged during his change of plea hearing that the waiver would

bar him from challenging the miscalculation of his advisory guideline

range.").'

II. CONCLUSION

       Eric Stephon McClendon's 28 U.S.C. § 2255 motion (doc. 484)

should be DENIED. Applying the Certificate of Appealability (COA)

standards set forth in Brown v. United States, 2009 WL 307872 at * 1-2

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 Some courts also apply a "miscarriage of justice" exception. United States v. Ruiz-
Gonzalez, 427 F. App'x 22, 25 (1st Cir. 2011) ("However, even if the waiver is
knowing and voluntary, we retain discretion not to enforce the waiver if it would
result in a 'miscarriage of justice.") (quotes and cite omitted); 9 FED. PROC., L. ED. §
22:969 (Dec. 2013) ("An illegal sentence may constitute a miscarriage of justice, so as
to support not enforcing the defendant's waiver in a plea agreement of the right to
appeal."); ANN., Validity and effect of criminal defendant's express waiver of right to
appeal as part of negotiated plea agreement, 89 ALR 3D 864 § 3.4 (collecting cases).
McClendon does not raise this exception.

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(S.D. Ga. Feb. 9, 2009) (unpublished), the Court discerns no COA-worthy

issues at this stage of the litigation, so no COA should issue. 28 U.S.C. §

2253(c)(1); see Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000)

(approving sua sponte denial of COA before movant filed a notice of

appeal). And, as there are no non-frivolous issues to raise on appeal, an

appeal would not be taken in good faith. Thus, in forma pauperis status

on appeal should likewise be DENIED. 28 U.S.C. § 1915(a)(3).

      SO REPORTED AND RECOMMENDED this 27th day of

January, 2014.




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